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    POWERINE OIL COMPANY
  9
 10
                          UNITED STATES DISTRICT COURT
 11
                        CENTRAL DISTRICT OF CALIFORNIA
 12
 13
 14 BASF CORPORATION, et al.                      Case No.: 2:14-cv-06456 GW (Ex.)
 15             Plaintiffs,                       JOINT STATUS REPORT AS
                                                  TO CLAIMS AGAINST
 16                v.                             DEFENDANT POWERINE OIL
                                                  COMPANY
 17 APC INVESTMENT CO., et al.,
                                                  DATE: JANUARY 24, 2022
 18              Defendants.                      TIME: 8:30 AM
 19                                               HON. GEORGE H. WU
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  1 TO THE HONORABLE COURT:
  2           As previously reported to the Court, plaintiffs BASF Corporation et al.
  3 (“Plaintiffs”) and Defendant Powerine Oil Company (“Powerine”) have agreed in
  4 principle to settle their dispute over the claims alleged in this action, subject to
  5 formalizing the terms of the agreement in writing
  6           The Court has previously issued four orders continuing the deadline to file
  7 dispositive motions as to Phase 1 issues as to Powerine, currently set for February 1,
  8 2022, by written order dated January 5, 2021, as Docket no. 898, written order entered
  9 April 29, 2021 as Docket no. 971, written order entered September 2, 2021 as Docket
 10 no. 992, and a written order entered December 2, 2021 as Docket no. 995. The parties
 11 have been working on draft documentation for this settlement, but the process has taken
 12 longer than anticipated. The agreement documentation has not been completed.
 13       The parties have previously advised the Court that delays in finalizing the
 14 settlement agreement have been due to the number of entities involved in the proposed
 15 settlement and a broader mediation that includes this settlement among other issues.
 16           The parties have been unable to reach agreement as to another stipulation to
 17 further extend the deadline for filing dispositive motions to permit finalization of the
 18 settlement agreement. The parties’ positions are as follows:
 19
 20           Position of Defendant Powerine Oil Company:

 21           The factors that have caused some delays in finalizing the settlement

 22 documentation have been described to the Court in general terms. To provide more
 23 specific detail regarding those factors, the settlement in principle has been negotiated
 24 and would be funded by Powerine’s insurer Chubb, which is responsible for historical
 25 liability insurance policies issued to Powerine.
 26           To achieve full settlement of the claims alleged in this action and end its potential

 27 coverage exposure to those claims, Chubb is seeking a release of claims from Lakeland
 28 Development Company, which is a company related to Powerine which is in
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  1 bankruptcy. The finalization of the settlement in this matter therefore requires that the
  2 parties obtain approval of the bankruptcy court overseeing the bankruptcy proceedings
  3 for Lakeland. Chubb has evidently had some delay and difficulty in obtaining
  4 cooperation from Lakeland to seek such approval.
  5           Powerine is therefore in a somewhat difficult position, in that it must of course
  6 comply with its obligations to the Court as a party to this action, however, the reason for
  7 the delay in completing the settlement is entirely outside of Powerine’s control.
  8           Based on the foregoing, Powerine respectfully suggests that the Court should
  9 continue the deadline for filing and hearing dispositive motions as to issues within
 10 Phase 1 of this action as previously defined by the Court (the “Liability MSJs”) and the
 11 subsequent deadlines currently ordered with respect to briefing and other activities
 12 associated with those motions. The present deadline for filing such motions, presently
 13 set for one month following February 1, 2022, should be continued to one month
 14 following May 1, 2022. Should the Parties not be able to finalize the agreement by May
 15 1, 2022, the Parties would have one month to bring the Liability MSJs contemplated
 16 under this stipulation and one week to agree to the timetable for all subsequent
 17 deadlines consistent with the timetable set forth in this Court’s order of November 23,
 18 2020. Powerine respectfully requests that the Court enter an order amending its prior
 19 scheduling orders, as to Plaintiffs and Powerine only, consistent with the above.
 20           Alternatively, Powerine respectfully suggests that the entities and counsel

 21 responsible for the delay be required to report to this Court regarding the reasons for the
 22 delay, and when the required bankruptcy approval will likely be obtained. The entities
 23 and counsel are as follows:
 24
              ACE Property & Casualty Insurance Company, formerly known as CIGNA
 25           Property & Casualty Insurance Company, formerly known as Aetna Insurance
 26           Company (referred to as “Chubb”)
 27           Represented by:
 28           Deborah A. Aiwasian, Esq.
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  4
  5           Jason M. Rund, Chapter 7 Trustee,
              In Re: Lakeland Development Company, United States Bankruptcy Court for
  6           Central District of California, Case No. 2:12-bk-25842 BR
  7
              Represented by:
  8           Jeffrey S. Raskin, Esq.
  9           MORGAN LEWIS & BOCKIUS LLP
              One Market Spear Street Tower
 10           San Francisco, CA 94105-1596
 11           Telephone: (415) 442-1000
              jeffrey.raskin@morganlewis.com
 12
 13
              Position of Plaintiff BASF Corporation, et al.:
 14
 15           Plaintiffs are sensitive to the fact that finalizing the settlement with Powerine will
 16 require approval from the court overseeing Lakeland Development’s bankruptcy and
 17 that counsel for Powerine in this matter are not before that court. However, because
 18 Powerine’s insurer wanted to make sure that any claims against Lakeland Development
 19 would also be settled, the parties agreed that the Bankruptcy Court would need to
 20 approve inclusion of Lakeland Development as a party to the settlement. Further,
 21 Plaintiffs respectfully disagree that the matter is “entirely outside of Powerine’s
 22 control.” It is Powerine’s own insurer that has been taking the lead in working with the
 23 bankruptcy trustee to obtain approval of the settlement; it is not some third-party
 24 stranger with whom Powerine has no contractual relationship. In fact, the insurer has
 25 fiduciary-like duties owed to Powerine.
 26           Plaintiffs, and this Court, have been patient in accommodating the process of
 27 obtaining bankruptcy approval, but Plaintiffs have now been waiting for several months
 28 for the formal approval request to be filed, and Powerine has not been able to provide
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  1 Plaintiffs with the date on which that will happen.
  2           Accordingly, Plaintiffs ask that counsel for Powerine appear at the January 24,
  3 2022 status conference and explain to the Court precisely what concrete steps Powerine
  4 intends to take over the next 10 days to accelerate what has been an all-too-slow effort
  5 to obtain the requisite approval from the Bankruptcy Court.
  6
  7
      Dated: January 21, 2022                        ISOLA LAW GROUP, LLP
  8
                                                   /s/ Stephen B. Ardis
  9                                           By:_____________________________
                                                   Stephen B. Ardis
 10                                                Attorneys for Defendant
                                                   POWERINE OIL COMPANY
 11
 12
      Dated: January 21, 2022                        LATHROP GPM LLP
 13
                                                   /s/ Ronald A. Valenzuela
 14                                           By:___________________________
                                                   Ronald A. Valenzuela
 15                                                Attorneys for Plaintiffs
                                                   BASF Corporation, et al.
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 17
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 21                           ATTESTATION OF CONCURRENCE

 22           I, Stephen B. Ardis, attest that all those whose signatures appear on this
 23
      document concur in the content of this filing and have authorized the filing.
 24
 25                                    /s/ Stephen B. Ardis
                                       _____________________________________
 26
                                       Stephen B. Ardis
 27
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